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                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                     :       CRIMINAL NO. 18-193

                v.                           :       DATE FILED:        November 1, 2018

DKYLE JAMAL BRIDGES                          :       VIOLATIONS:
KRISTIAN JONES
ANTHONY JONES                                :       18 U.S.C. § 1594(c) (conspiracy to engage
     a/k/a “Ears”                                    in sex trafficking via force, fraud, and
                                             :       coercion, and in sex trafficking of minors
                                                     – 1 count)
                                             :       18 U.S.C. §§ 1591(a)(1), (b)(1) (sex
                                                     trafficking via force, fraud, and coercion
                                             :        – 2 counts)
                                                     18 U.S.C. §§ 1591(a)(1), (b)(1), (b)(2), (c)
                                             :       (sex trafficking of minors and via force,
                                                     fraud, and coercion – 3 counts)
                                             :       18 U.S.C. § 2 (aiding and abetting)
                                                     Notice of forfeiture

                               SUPERSEDING INDICTMENT

                                         COUNT ONE

THE GRAND JURY CHARGES THAT:

       From in or around 2012, through on or about September 21, 2017, in Philadelphia and

Delaware County, in the Eastern District of Pennsylvania, and elsewhere, the defendants,

                                 DKYLE JAMAL BRIDGES,
                                  KRISTIAN JONES, and
                                   ANTHONY JONES,
                                      a/k/a “Ears,”

conspired and agreed with each other and with other persons known and unknown to the Grand

Jury to knowingly recruit, entice, harbor, transport, provide, obtain and maintain a person, in and

affecting interstate and foreign commerce, knowing, and in reckless disregard of the fact, that

means of force, threats of force, fraud, and coercion would be used to cause such person to engage

in a commercial sex act, and knowing, and in reckless disregard of the fact, that such persons had
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not attained the age of 18 years and would be caused to engage in a commercial sex act, and having

had a reasonable opportunity observe such persons, in violation of Title 18, United States Code,

Sections 1591(a)(1) and 1591(c).

                All in violation of Title 18, United States Code, Section 1594(c).




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                                         COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

       From in or around 2012, through on or about September 17, 2017, in Delaware County, in

the Eastern District of Pennsylvania, and elsewhere, the defendant,

                                 DKYLE JAMAL BRIDGES

knowingly, in and affecting interstate and foreign commerce, recruited, enticed, harbored,

transported, provided, obtained, and maintained Z.W., and aided and abetted the same, knowing,

and in reckless disregard of the fact, that means of force, threats of force, fraud, and coercion

would be used to cause Z.W. to engage in a commercial sex act.

               In violation of Title 18, United States Code, Sections 1591(a)(1), 1591(b)(1) and 2.




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                                       COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

       From in or around November 2015, through in or around May 2016, in Delaware County,

in the Eastern District of Pennsylvania, and elsewhere, the defendants,

                               DKYLE JAMAL BRIDGES and
                                   ANTHONY JONES,
                                      a/k/a “Ears,”

knowingly, in and affecting interstate and foreign commerce, recruited, enticed, harbored,

transported, provided, obtained, and maintained J.S., and aided and abetted the same, knowing,

and in reckless disregard of the fact, that means of force, threats of force, fraud, and coercion

would be used to cause J.S. to engage in a commercial sex act.

               In violation of Title 18, United States Code, Sections 1591(a)(1), 1591(b)(1) and 2.




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                                        COUNT FOUR

THE GRAND JURY FURTHER CHARGES THAT:

       From in or around November 2015, through on or about September 21, 2017, in

Philadelphia and Delaware County, in the Eastern District of Pennsylvania, and elsewhere, the

defendants,

                                 DKYLE JAMAL BRIDGES,
                                  KRISTIAN JONES, and
                                   ANTHONY JONES,
                                      a/k/a “Ears,”

knowingly, in and affecting interstate and foreign commerce, recruited, enticed, harbored,

transported, provided, obtained, and maintained B.T., a minor, and aided and abetted the same,

knowing, and in reckless disregard of the fact, that means of force, threats of force, fraud, and

coercion would be used to cause B.T. to engage in a commercial sex act, and, knowing and in

reckless disregard of the fact, that B.T. had not attained the age of 18 years, and would be caused

to engage in a commercial sex act, and further having had a reasonable opportunity to observe B.T.

               In violation of Title 18, United States Code, Sections 1591(a)(1), 1591(b)(1),

1591(b)(2), 1591(c) and 2.




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                                         COUNT FIVE

THE GRAND JURY FURTHER CHARGES THAT:

       From in or around October 2016, through on or about November 15, 2016, in Delaware

County, in the Eastern District of Pennsylvania, and elsewhere, the defendants,

                                 DKYLE JAMAL BRIDGES,
                                  KRISTIAN JONES, and
                                   ANTHONY JONES,
                                      a/k/a “Ears,”

knowingly, in and affecting interstate and foreign commerce, recruited, enticed, harbored,

transported, provided, obtained, and maintained N.G., a minor, and aided and abetted the same,

knowing, and in reckless disregard of the fact, that means of force, threats of force, fraud, and

coercion would be used to cause N.G. to engage in a commercial sex act, and, knowing and in

reckless disregard of the fact, that N.G. had not attained the age of 18 years, and would be caused

to engage in a commercial sex act, and further having had a reasonable opportunity to observe

N.G.

               In violation of Title 18, United States Code, Sections 1591(a)(1), 1591(b)(1),

1591(b)(2), 1591(c) and 2.




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                                          COUNT SIX

THE GRAND JURY FURTHER CHARGES THAT:

       From in or around October 2016, through on or about November 15, 2016, in Delaware

County, in the Eastern District of Pennsylvania, and elsewhere, the defendants,

                                 DKYLE JAMAL BRIDGES,
                                  KRISTIAN JONES, and
                                   ANTHONY JONES,
                                      a/k/a “Ears,”

knowingly, in and affecting interstate and foreign commerce, recruited, enticed, harbored,

transported, provided, obtained, and maintained L.C., a minor, and aided and abetted the same,

knowing, and in reckless disregard of the fact, that means of force, threats of force, fraud, and

coercion would be used to cause L.C. to engage in a commercial sex act, and, knowing and in

reckless disregard of the fact, that L.C. had not attained the age of 18 years, and would be caused

to engage in a commercial sex act, and further having had a reasonable opportunity to observe L.C.

               In violation of Title 18, United States Code, Sections 1591(a)(1), 1591(b)(1),

1591(b)(2), 1591(c) and 2.




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                                  NOTICE OF FORFEITURE

THE GRAND JURY FURTHER CHARGES THAT:

               1.      As a result of the violations of Title 18, United States Code, Sections

1594(c), 1591(a)(1), 1591(b)(1), 1591(b)(2) and 1591(c), as set forth in this indictment, defendants

                                  DKYLE JAMAL BRIDGES,
                                   KRISTIAN JONES, and
                                    ANTHONY JONES,
                                       a/k/a “Ears”

shall forfeit to the United States of America:

                       (a)     any property, real or personal, constituting or derived from, any

proceeds obtained by the defendants, directly or indirectly, as a result of such violation, or any

property traceable to such property; and

                       (b)     defendants’ interest in any property, real or personal, that was

involved in, used, or intended to be used to commit or to facilitate the property of any such

violation, and any property traceable to such property.

               All pursuant to Title 18, United States Code, Section 1594(d).


                                                     A TRUE BILL:



                                                     __________________________________
                                                     GRAND JURY FOREPERSON




WILLIAM M. MCSWAIN
United States Attorney




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